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16
17                        IN THE UNITED STATES DISTRICT COURT
18                                FOR THE DISTRICT OF ARIZONA
19
     United States of America,                                No. CR-18-422-PHX-DJH
20
                              Plaintiff,                UNITED STATES’ MOTION TO
21                                                     UNSEAL FOR LIMITED PURPOSE
               v.
22
23   Michael Lacey, et al.,
24                            Defendants.
25          The United States moves this Court for an order unsealing the transcript of the
26   motion hearing held on May 3, 2021, for the limited purpose of allowing the transcript to
27   be released to the United States. Previously, the United States filed a transcript request for
28   the oral argument on that date. (Doc. 1153.) Those particular proceedings, however, were
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 1   under seal. Accordingly, the United States now moves to unseal the proceedings for
 2   transcription purposes only. The United States also submits a proposed form of order.
 3          Respectfully submitted this 5th day of November, 2021.
 4                                            GLENN B. McCORMICK
                                              Acting United States Attorney
 5                                            District of Arizona
 6                                            s/ Andrew C. Stone
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 7                                            MARGARET PERLMETER
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14                                            Senior Trial Attorney
                                              U.S. Department of Justice, Criminal Division
15
16
17                               CERTIFICATE OF SERVICE
18          I hereby certify that on this same date, I electronically transmitted the attached
19   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
20   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
21   as counsel of record.
22   s/ Marjorie Dieckman
23   U.S. Attorney’s Office

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